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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 MARIA DIAZ,

                        Plaintiff,
                                                                Case No. 3:22-cv-30160
                v.

 EQUIFAX INFORMATION SERVICES, LLC,
 EXPERIAN INFORMATION SOLUTIONS, INC.,
 CITIBANK, N.A., TRANSUNION, LLC,
 BARCLAYS BANK DELAWARE, and BANK OF
 AMERICA, N.A.,

                        Defendants.

                   DEFENDANT BANK OF AMERICA, N.A.’S
                 ANSWER AND AFFIRMATIVE DEFENSES TO
      PLAINTIFF’S AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

       Defendant Bank of America, N.A. (“BANA”), answers and responds to Plaintiff Maria

Diaz’s Amended Complaint and Demand for Jury Trial (“Complaint”) as follows:

                                        INTRODUCTION

       1.      The allegations in Paragraph 1 appear to be Plaintiff’s general opinion on identity

theft, to which no response is required. To the extent that Plaintiff contends that a response is

required, BANA is without sufficient knowledge or information to admit or deny those allegations

and, therefore, denies the allegations in Paragraph 1. To the extent the allegations in Paragraph 1

reference certain case law or articles, that case law and literature speaks for itself. BANA denies

any allegations in Paragraph 1 to the extent inconsistent with this case law and literature.

       2.      To the extent the allegations in Paragraph 2 concern a certain “credit report,” that

document speaks for itself. To the extent the allegations in Paragraph 2 are inconsistent with those

documents, BANA denies those allegations. To the extent the remaining allegations in Paragraph
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2 are directed at BANA, BANA denies the allegations. To the extent the remaining allegations in

Paragraph 2 are directed at another party to this matter, no response is required from BANA. To

the extent Plaintiff contends a response is required from BANA, BANA is without sufficient

knowledge or information to admit or deny those allegations and, therefore, denies those

allegations in Paragraph 2.

       3.      To the extent the allegations in Paragraph 3 concern a certain “credit report,” that

document speaks for itself. To the extent the allegations in Paragraph 3 are inconsistent with those

documents, BANA denies those allegations. To the extent the remaining allegations in Paragraph

3 are directed at BANA, BANA denies the allegations. To the extent the remaining allegations in

Paragraph 3 are directed at another party to this matter, no response is required from BANA. To

the extent that Plaintiff contends that a response is required, BANA is without information

sufficient to admit or deny those allegations in Paragraph 3 of the Complaint and, therefore, denies

the allegations.

       4.      In response to Paragraph 4 of the Complaint, BANA admits that Plaintiff purports

to bring a cause of action under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”).

To the extent the remaining allegations in Paragraph 4 are directed at BANA, BANA denies the

allegations and specifically denies that it violated the FCRA and denies that Plaintiff is entitled to

any of the relief sought in the Complaint. To the extent the remaining allegations in Paragraph 4

are directed at another party to this matter, no response is required from BANA. To the extent that

Plaintiff contends that a response is required, BANA is without information sufficient to admit or

deny those allegations in Paragraph 4 and, therefore, denies the allegations.

       5.      The allegations set forth in Paragraph 5 are not directed at BANA, thus, no response

is required. To the extent that Plaintiff contends that a response is required, BANA is without



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information sufficient to admit or deny the allegations in Paragraph 5 and, therefore, denies the

allegations.

       6.      The allegations set forth in Paragraph 6 are not directed at BANA, thus, no response

is required. To the extent that Plaintiff contends that a response is required, BANA is without

information sufficient to admit or deny the allegations in Paragraph 6 and, therefore, denies the

allegations.

       7.      In response to Paragraph 7 of the Complaint, BANA admits that Plaintiff purports

to seek “statutory, actual, and punitive damages, along with injunctive and declaratory relief, and

attorney’s fees and costs.” Further, BANA denies that it violated the FCRA and denies that

Plaintiff is entitled to any of the relief sought in the Complaint.

                                          JURISDICTION

       8.      In response to Paragraph 8 of the Complaint, those allegations contain conclusions

of law to which no response is required. To the extent a response may be required, BANA denies

the allegations contained in Paragraph 8 of the Complaint. By way of further response, BANA is

not contesting jurisdiction.

       9.      In response to Paragraph 9 of the Complaint, those allegations contain conclusions

of law to which no response is required. To the extent a response may be required, BANA denies

the allegations contained in Paragraph 9 of the Complaint. By way of further response, BANA is

not contesting venue.

                                              PARTIES

       10.     BANA is without information sufficient to admit or deny whether Plaintiff “is a

resident of Springfield, Massachusetts” and, therefore, denies the allegations. The remaining

allegations in Paragraph 10 contain conclusions of law to which no response is required. To the



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extent a response may be required, BANA denies the remaining allegations contained in Paragraph

10.

       11.     BANA admits that Equifax is a consumer reporting agency as defined by the

FCRA. The remaining allegations set forth in Paragraph 11 are directed at another party to this

matter and, thus, no response is required from BANA. To the extent that Plaintiff contends that a

response is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 11 and, therefore, denies the allegations.

       12.     The allegations set forth in Paragraph 12 are directed at another party to this matter

and, thus, no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 12 and, therefore, denies the allegations.

       13.     BANA admits that Experian is a consumer reporting agency as defined by the

FCRA. The remaining allegations set forth in Paragraph 13 are directed at another party to this

matter and, thus, no response is required from BANA. To the extent that Plaintiff contends that a

response is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 13 and, therefore, denies the allegations.

       14.     The allegations set forth in Paragraph 14 are directed at another party to this matter

and, thus, no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 14 and, therefore, denies the allegations.

       15.     BANA admits that TransUnion is a consumer reporting agency as defined by the

FCRA. The remaining allegations set forth in Paragraph 15 are directed at another party to this

matter and, thus, no response is required from BANA. To the extent that Plaintiff contends that a



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response is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 15 and, therefore, denies the allegations.

       16.     The allegations set forth in Paragraph 16 are directed at another party to this matter

and, thus, no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 16 and, therefore, denies the allegations.

       17.     The allegations set forth in Paragraph 17 are directed at another party to this matter

and, thus, no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 17 and, therefore, denies the allegations.

       18.     The allegations set forth in Paragraph 18 are directed at another party to this matter

and, thus, no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 18 and, therefore, denies the allegations.

       19.     BANA states that it is a national banking association with its principal place of

business located at 100 North Tryon Street, Charlotte, North Carolina 28255. All remaining

allegations set forth in Paragraph 19 are denied.

                                  FACTUAL ALLEGATIONS

       20.     To the extent the allegations in Paragraph 20 concern certain “credit reports,” those

documents speak for themselves. To the extent the allegations in Paragraph 20 are inconsistent

with those documents, BANA denies those allegations. BANA is without information sufficient

to admit or deny the remaining allegations in Paragraph 20 and, therefore, denies the allegations.




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       21.     To the extent the allegations in Paragraph 21 concern the contents of a certain

“police report” and “FTC Identity Theft Affidavit,” those documents speak for themselves. To the

extent the allegations in Paragraph 21 are inconsistent with those documents, BANA denies those

allegations. To the extent the remaining allegations in Paragraph 21 are directed at BANA, BANA

denies the allegations. To the extent the remaining allegations in Paragraph 21 are directed at

another party to this matter, no response is required from BANA. To the extent that Plaintiff

contends that a response is required, BANA is without information sufficient to admit or deny

those allegations in Paragraph 21 of the Complaint and, therefore, denies the allegations.

       22.     To the extent the allegations in Paragraph 22 concern certain “disputes,” those

documents speak for themselves. To the extent the allegations in Paragraph 22 are inconsistent

with those documents, BANA denies those allegations. BANA is without information sufficient

to admit or deny the remaining allegations in Paragraph 22 and, therefore, denies the allegations.

       23.     To the extent the allegations in Paragraph 23 concern the contents of certain

“complaints” filed with the Consumer Financial Protection Bureau, “credit reports,” and “letter

correspondence” from Citibank, those documents speak for themselves.           To the extent the

allegations in Paragraph 23 are inconsistent with those documents, BANA denies those allegations.

BANA is without information sufficient to admit or deny the remaining allegations in Paragraph

20 and, therefore, denies the allegations.

       24.     To the extent the allegations in Paragraph 24 concern the contents of certain

“disputes,” those documents speak for themselves. To the extent the allegations in Paragraph 24

are inconsistent with those documents, BANA denies those allegations. BANA is without

information sufficient to admit or deny the remaining allegations in Paragraph 24 and, therefore,

denies the allegations.



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       25.     To the extent the allegations in Paragraph 25 concern the contents of a certain

“dispute,” those documents speak for themselves. To the extent the allegations in Paragraph 25

are inconsistent with those documents, BANA denies those allegations. BANA is without

information sufficient to admit or deny the remaining allegations in Paragraph 25 and, therefore,

denies the allegations.

       26.     To the extent the allegations in Paragraph 26 concern certain “disputes” and copies

of a certain “FTC Identity Theft Affidavit,” those documents speak for themselves. To the extent

the allegations in Paragraph 26 are inconsistent with those documents, BANA denies those

allegations. BANA is without information sufficient to admit or deny the remaining allegations in

Paragraph 26 and, therefore, denies the allegations.

       27.     To the extent the allegations in Paragraph 27 concern certain “credit reports” and

“disputes,” those documents speak for themselves. To the extent the allegations in Paragraph 27

are inconsistent with those documents, BANA denies those allegations.            To the extent the

remaining allegations in Paragraph 27 are directed at BANA, BANA denies the allegations. To

the extent the remaining allegations in Paragraph 27 are directed at another party to this matter, no

response is required from BANA. To the extent that Plaintiff contends that a response is required,

BANA is without information sufficient to admit or deny those allegations in Paragraph 27 of the

Complaint and, therefore, denies the allegations.

       28.     The allegations set forth in Paragraph 28 are directed at another party to this matter

and, thus, no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny those allegations in

Paragraph 28 and, therefore, denies the allegations.




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       29.     To the extent the allegations in Paragraph 29 concern a certain “credit file,” those

documents speak for themselves. To the extent the allegations in Paragraph 29 are inconsistent

with those documents, BANA denies those allegations. The remaining allegations in Paragraph

29 are directed at another party to this matter, to which no response is required from BANA. To

the extent that Plaintiff contends that a response is required, BANA is without information

sufficient to admit or deny those allegations in Paragraph 29 of the Complaint and, therefore,

denies the allegations.

       30.     To the extent the allegations in Paragraph 30 concern a certain “credit file,” those

documents speak for themselves. To the extent the allegations in Paragraph 30 are inconsistent

with those documents, BANA denies those allegations. The remaining allegations in Paragraph

30 are directed at another party to this matter, to which no response is required from BANA. To

the extent that Plaintiff contends that a response is required, BANA is without information

sufficient to admit or deny those allegations in Paragraph 30 of the Complaint and, therefore,

denies the allegations.

       31.     BANA states that it has received several disputes from credit reporting agencies as

to the BANA credit account ending in 9249 (“Account”). To the extent the remaining allegations

in Paragraph 31 are directed at BANA, BANA denies the allegations. To the extent the remaining

allegations in Paragraph 31 are directed at another party to this matter, no response is required

from BANA. To the extent that Plaintiff contends that a response is required, BANA is without

information sufficient to admit or deny those allegations in Paragraph 31 of the Complaint and,

therefore, denies the allegations.

       32.     To the extent the allegations in Paragraph 32 are directed at BANA, BANA denies

the allegations and specifically denies that it violated the FCRA. To the extent the remaining



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allegations in Paragraph 32 are directed at another party to this matter, no response is required

from BANA. To the extent that Plaintiff contends that a response is required, BANA is without

information sufficient to admit or deny those allegations in Paragraph 32 of the Complaint and,

therefore, denies the allegations.

       33.     To the extent the allegations in Paragraph 33 are directed at BANA, BANA denies

the allegations and specifically denies that it violated the FCRA and denies that Plaintiff is entitled

to any of the relief sought in the Complaint. To the extent the remaining allegations in Paragraph

33 are directed at another party to this matter, no response is required from BANA. To the extent

that Plaintiff contends that a response is required, BANA is without information sufficient to admit

or deny those allegations in Paragraph 33 of the Complaint and, therefore, denies the allegations.

       34.     To the extent the allegations in Paragraph 34 are directed at BANA, BANA denies

the allegations and specifically denies that it violated the FCRA and denies that Plaintiff is entitled

to any of the relief sought in the Complaint. To the extent the allegations in Paragraph 34 are

directed at another party to this matter, no response is required from BANA. To the extent that

Plaintiff contends that a response is required, BANA is without information sufficient to admit or

deny those allegations in Paragraph 34 and, therefore, denies the allegations.

       35.     To the extent the allegations in Paragraph 35 are directed at BANA, BANA denies

the allegations and specifically denies that it violated the FCRA and denies that Plaintiff is entitled

to any of the relief sought in the Complaint. To the extent the allegations in Paragraph 35 are

directed at another party to this matter, no response is required from BANA. To the extent that

Plaintiff contends that a response is required, BANA is without information sufficient to admit or

deny those allegations in Paragraph 35 and, therefore, denies the allegations.




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       36.     To the extent the allegations in Paragraph 36 are directed at BANA, BANA denies

the allegations and specifically denies that it violated the FCRA and denies that Plaintiff is entitled

to any of the relief sought in the Complaint. To the extent the allegations in Paragraph 36 are

directed at another party to this matter, no response is required from BANA. To the extent that

Plaintiff contends that a response is required, BANA is without information sufficient to admit or

deny those allegations in Paragraph 36 and, therefore, denies the allegations.

                                   COUNT I
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                15 U.S.C. § 1681i
                               AGAINST EQUIFAX

       37.     BANA incorporates by reference its responses to Paragraphs 1 through 36 as

though fully set forth here.

       38.     BANA admits the allegations contained in Paragraph 38.

       39.     The allegations in Paragraph 39 reference and cite the FCRA, which speaks for

itself. BANA denies any allegations in Paragraph 39 to the extent inconsistent with this statute.

       40.     The allegations in Paragraph 40 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 40

and, therefore, denies the allegations.

       41.     The allegations in Paragraph 41 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 41

and, therefore, denies the allegations.

       42.     The allegations in Paragraph 42 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is


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required, BANA is without information sufficient to admit or deny the allegations in Paragraph 42

and, therefore, denies the allegations.

       43.     The allegations in Paragraph 43 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 43

and, therefore, denies the allegations.

                                        COUNT II
                     VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                    15 U.S.C. § 1681i(b)
                                  AGAINST EXPERIAN

       44.     BANA incorporates by reference its responses to Paragraphs 1 through 43 as

though fully set forth here.

       45.     BANA admits the allegations contained in Paragraph 45.

       46.     The allegations in Paragraph 46 reference and cite the FCRA, which speaks for

itself. BANA denies any allegations in Paragraph 46 to the extent inconsistent with this statute.

       47.     The allegations in Paragraph 47 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 47

and, therefore, denies the allegations.

       48.     The allegations in Paragraph 48 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 48

and, therefore, denies the allegations.

       49.     The allegations in Paragraph 49 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is


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required, BANA is without information sufficient to admit or deny the allegations in Paragraph 49

and, therefore, denies the allegations.

       50.     The allegations in Paragraph 50 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 50

and, therefore, denies the allegations.

                                          COUNT III
                               FAILURE TO INVESTIGATE DISPUTE
                                   FCRA, 15 U.S.C. § 1681s-2(b)
                                     AGAINST CITIBANK

       51.     BANA incorporates by reference its responses to Paragraphs 1 through 50 as

though fully set forth here.

       52.     The allegations in Paragraph 52 reference the FCRA, which speaks for itself.

BANA denies any allegations in Paragraph 52 to the extent inconsistent with this statute.

       53.     The allegations in Paragraph 53 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 53

and, therefore, denies the allegations.

       54.     The allegations in Paragraph 54 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 54

and, therefore, denies the allegations.

       55.     The allegations in Paragraph 55 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is




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required, BANA is without information sufficient to admit or deny the allegations in Paragraph 55

and, therefore, denies the allegations.

       56.     The allegations in Paragraph 56 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 56

and, therefore, denies the allegations.

       57.     The allegations in Paragraph 57 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 57

and, therefore, denies the allegations.

       58.     The allegations in Paragraph 58 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 58

and, therefore, denies the allegations.

                                         COUNT IV
                                   IMPERMISSIBLE PULLS
                                   FCRA. 15 U.S.C. § 1681b(a)
                                     AGAINST CITIBANK

       59.     BANA incorporates by reference its responses to Paragraphs 1 through 58 as

though fully set forth here.

       60.     The allegations in Paragraph 60 reference and cite the FCRA, which speaks for

itself. BANA denies any allegations in Paragraph 60 to the extent inconsistent with this statute.

       61.     In response to Paragraph 61 of the Complaint, those allegations contain conclusions

of law to which no response is required. To the extent a response may be required, BANA denies

the allegations contained in Paragraph 61 of the Complaint.


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       62.     In response to Paragraph 62 of the Complaint, those allegations contain conclusions

of law to which no response is required. To the extent a response may be required, BANA denies

the allegations contained in Paragraph 62 of the Complaint.

       63.     The allegations in Paragraph 63 reference and cite the FCRA, which speaks for

itself. BANA denies any allegations in Paragraph 63 to the extent inconsistent with this statute.

       64.     The allegations in Paragraph 64 reference and cite the FCRA, which speaks for

itself. BANA denies any allegations in Paragraph 64 to the extent inconsistent with this statute.

       65.     The allegations in Paragraph 65 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 65

and, therefore, denies the allegations.

       66.     The allegations in Paragraph 66 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 66

and, therefore, denies the allegations.

       67.     The allegations in Paragraph 67 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 67

and, therefore, denies the allegations.

       68.     The allegations in Paragraph 68 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 68

and, therefore, denies the allegations.



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                                           COUNT V
                               FAILURE TO INVESTIGATE DISPUTE
                                   FCRA, 15 U.S.C. § 1681s-2(b)
                                        AGAINST BOA

       69.     BANA incorporates by reference its responses to Paragraphs 1 through 68 as

though fully set forth here.

       70.     The allegations in Paragraph 70 reference the FCRA, which speaks for itself.

BANA denies any allegations in Paragraph 70 to the extent inconsistent with this statute.

       71.     To the extent the allegations in Paragraph 71 of the Complaint concern certain

“written disputes,” that document speaks for itself. To the extent the allegations in Paragraph 71

are inconsistent with those documents, BANA denies those allegations. BANA is without

information sufficient to admit or deny the remaining allegations in Paragraph 71 and, therefore,

denies those allegations.

       72.     BANA states that it has received several disputes from credit reporting agencies as

to the Account.

       73.     The allegations in Paragraph 73 appear to be Plaintiff’s opinion on what the FCRA

obligates, to which no response is required. The FCRA speaks for itself, and BANA denies any

allegations in Paragraph 73 to the extent inconsistent with this statute. To the extent that Plaintiff

contends that a response is required, BANA denies the allegations in Paragraph 73.

       74.     BANA denies the allegations in Paragraph 74.

       75.     BANA denies the allegations in Paragraph 75 and specifically denies that it violated

the FCRA.

       76.     BANA denies the allegations in Paragraph 76 and specifically denies that it violated

the FCRA and denies that Plaintiff is entitled to the requested relief in the Complaint.




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                                    COUNT VI
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                15 U.S.C. § 1681c-2
                               AGAINST EQUIFAX

       77.     BANA incorporates by reference its responses to Paragraphs 1 through 76 as

though fully set forth here.

       78.     The allegations in Paragraph 78 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 78

and, therefore, denies the allegations.

       79.     The allegations in Paragraph 79 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 79

and, therefore, denies the allegations.

       80.     The allegations in Paragraph 80 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 80

and, therefore, denies the allegations.

       81.     The allegations in Paragraph 81 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 81

and, therefore, denies the allegations.

       82.     The allegations in Paragraph 82 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is




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required, BANA is without information sufficient to admit or deny the allegations in Paragraph 82

and, therefore, denies the allegations.

                                   COUNT VII
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                15 U.S.C. § 1681c-2
                              AGAINST EXPERIAN

       83.     BANA incorporates by reference its responses to Paragraphs 1 through 82 as

though fully set forth here.

       84.     The allegations in Paragraph 84 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 84

and, therefore, denies the allegations.

       85.     The allegations in Paragraph 85 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 85

and, therefore, denies the allegations.

       86.     The allegations in Paragraph 86 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 86

and, therefore, denies the allegations.

       87.     The allegations in Paragraph 87 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 87

and, therefore, denies the allegations.




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       88.     The allegations in Paragraph 88 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 88

and, therefore, denies the allegations.

                                  COUNT VIII
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                    1681c-2
                             AGAINST TRANSUNION

       89.     BANA incorporates by reference its responses to Paragraphs 1 through 88 as

though fully set forth here.

       90.     The allegations in Paragraph 90 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 90

and, therefore, denies the allegations.

       91.     The allegations in Paragraph 91 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 91

and, therefore, denies the allegations.

       92.     The allegations in Paragraph 92 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 92

and, therefore, denies the allegations.

       93.     The allegations in Paragraph 93 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is




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required, BANA is without information sufficient to admit or deny the allegations in Paragraph 93

and, therefore, denies the allegations.

       94.     The allegations in Paragraph 94 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 94

and, therefore, denies the allegations.

                                   COUNT IX
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                15 U.S.C. § 1681i
                             AGAINST TRANSUNION

       95.     BANA incorporates by reference its responses to Paragraphs 1 through 94 as

though fully set forth here.

       96.     BANA admits the allegations contained in Paragraph 96.

       97.     The allegations in Paragraph 97 reference and cite the FCRA, which speaks for

itself. BANA denies any allegations in Paragraph 97 to the extent inconsistent with this statute.

       98.     The allegations in Paragraph 98 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 98

and, therefore, denies the allegations.

       99.     The allegations in Paragraph 99 are directed at another party to this matter, to which

no response is required from BANA. To the extent that Plaintiff contends that a response is

required, BANA is without information sufficient to admit or deny the allegations in Paragraph 99

and, therefore, denies the allegations.

       100.    The allegations in Paragraph 100 are directed at another party to this matter, to

which no response is required from BANA. To the extent that Plaintiff contends that a response


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is required, BANA is without information sufficient to admit or deny the allegations in Paragraph

100 and, therefore, denies the allegations.

       101.    The allegations in Paragraph 101 are directed at another party to this matter, to

which no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny the allegations in Paragraph

101 and, therefore, denies the allegations.

                               DEMAND FOR TRIAL BY JURY

       102.    BANA denies that Plaintiff is entitled to a jury trial for any cause of action as

alleged in Paragraph 102. Further, to the extent the allegations in the “PRAYER FOR RELIEF”

following Paragraph 102 are directed at BANA, BANA denies the allegations and denies that

Plaintiff is entitled to the requested relief in the Complaint. To the extent the allegations in the

“PRAYER FOR RELIEF” clause following Paragraph 102 are directed at another party to this

matter, no response is required from BANA. To the extent that Plaintiff contends that a response

is required, BANA is without information sufficient to admit or deny the allegations in the

“PRAYER FOR RELIEF” clause following Paragraph 102 and, therefore, denies the allegations.

                                  AFFIRMATIVE DEFENSES

       BANA submits the following as its list of affirmative defenses in this matter:

       1.      Any allegations not specifically admitted here are denied.

       2.      BANA states that the Complaint fails, in whole or in part, to state a claim upon

which relief may be granted.

       3.      BANA states that Plaintiff, by consenting to the acts and omissions described in the

Complaint and/or by failing to raise issue with those acts and omissions in a timely manner,

waived, relinquished, and abandoned any claims arising from those acts or omissions.



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         4.    BANA states that the Complaint is barred, in whole or in part, by the doctrines of

fraud, laches, estoppel, and/or unclean hands.

         5.    BANA states that the Complaint is barred, in whole or in part, because Plaintiff

failed to properly mitigate her damages.

         6.    BANA states that its actions were not egregious, knowing, willful, wanton, grossly

negligent, or reckless, nor did it act in bad faith, and it otherwise cannot be held responsible or

liable for punitive damages.

         7.    BANA states that at all times relevant hereto BANA conducted itself in good faith.

         8.    BANA states that it did not engage in any act or omission that would justify an

award of litigation expenses or attorney’s fees, and Plaintiff is otherwise not entitled to such an

award.

         9.    Plaintiff’s damages, if any, were caused by the action and/or inactions of third

parties and/or intervening causes over which BANA had no control.

         10.   Plaintiff’s damages, if any, were caused by Plaintiff’s own acts and/or omissions

and thus, BANA cannot be held responsible or liable.

         11.   BANA states that at all times relevant hereto, BANA conducted itself in conformity

with all applicable laws and regulations, including those governing banking entities.

         12.   Plaintiff suffered no actual injury. Thus, Plaintiff lacks Article III standing.

Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016).

         13.   Plaintiff’s Complaint seeks punitive damages. BANA adopts by reference the

defenses, criteria, limitations, standards, and constitutional protections mandated or provided by

the United States Supreme Court in the following cases: BMW v. Gore, 517 U.S. 559 (1996);

Cooper Indus., Inc. v. Leatherman Tool Grp., Inc., 532 U.S. 923 (2001); State Farm v. Campbell,



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538 U.S. 408 (2003); Phillip Morris USA v. Williams, 127 S. Ct. 1057 (2007); Exxon Shipping Co.

v. Baker, 168 S. Ct. 265 (2008).

          14.   Plaintiff’s claim for punitive damages is barred or limited by the provisions of 15

U.S.C. § 1681n.

          15.   BANA pleads and asserts all applicable constitutional, statutory, and common law

limitations on punitive damages.

          16.   Plaintiff’s claim that BANA committed willful violations of the Fair Credit

Reporting Act is barred by the principles articulated in Safeco Ins. Co. v. Burr, 127 S. Ct. 2201

(2007).

          17.   BANA reserves the right to assert any additional affirmative defenses as may be

disclosed during the course of discovery.

          WHEREFORE, BANA prays to the Court as follows:

          1.    That the claims against BANA be dismissed with prejudice;

          2.    That Plaintiff has and recovers nothing from BANA;

          3.    That the costs incurred by BANA in defending this action be taxed to Plaintiff; and

          4.    That BANA be granted such other and further relief as the Court deems just and

proper.

                                              Bank of America, N.A.
                                              By its attorneys,


Dated: May 3, 2023                            /s/Dean J. Wagner
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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the foregoing Answer

and Affirmative Defenses was electronically filed on this 3rd day of May, 2023 with the Clerk of

Court using the CM/ECF system, which will send a notification of such filing to all counsel of

record.



                                                      /s/Dean J. Wagner
                                                      Dean J. Wagner, Esq. BBO#633181
